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                                       IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF VIRGINIA

       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                                       CRIMINAL RULE 57.4
                   In Case Number 18-1405            ,Case Name Quinteros v. Burlington Coat Factory et al
                   Party Represented by Applicant: Jeannie Quinteros, Plaintiff
To: The Honorable Judges of the United States District Court for the Eastern District of Virginia
                                                     PERSONAL STATEMENT


FULL NAME(no initials, please) ARINDERJIT DHALI
Bar Identification Number 495909                 State DC
Firm Name DHALI & REIMER PLLC
Firm Phone # XXX-XX-XXXX                      Direct Dial # XXX-XX-XXXX                         FAX # 202-^51-0518
E-Mail Address ajdhaliiadhalilaw.com
Office Mailing Address 1828 L STREET. NW.SUITE 600. WASHINGTON. DC 20036

Name(s) of federal court(s) in which I have been admitted 4TH Circuit; U.S. District Court of Maryland; D.C Circuit and DC Court of A[^.
I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.


I hereby certify that, within ninety(90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am       am not ^ a full-time employee of the United States of America, and if so, request exemption from the admission fee.
                                                                                       /s/Arinderjit Dhali
                                                                                      (Applicant's Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.
                                                   /s/ Elyssa Helene Katz Geschwind                             12/4/2018
                                                   (Signature)                                                  (Date)
                                                   Elyssa Helene Katz Geschwind                                 87558
                                                           (Typed or Printed Name)                              (VA Bar Number)
Court Use Only:

Clerk's Fee Paid             or Exemption Granted

The motion for admission is GRANTED                   or DENIED




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                         (Ji^e^s Si^ature)        \\                                          (Date)
                               '    M.'s District Jucue
